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                                EXHIBIT A:


                  DRAFT PROPOSED JUDGMENT
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN


  JOHN DOES, et al.,                                    No. 2:22-cv-10209
                 Plaintiffs,
                                                        Hon. Mark A. Goldsmith
  v.
                                                        Mag. J. Curtis Ivy, Jr.
  GRETCHEN WHITMER, et al.,
                 Defendants.


                                  FINAL JUDGMENT

          WHEREAS Plaintiffs filed a complaint (ECF No. 1) in February 2022 and

 subsequently filed an amended complaint (ECF No. 108) in April 2023 challenging

 the constitutionality of the version of Michigan’s Sex Offenders Registration Act

 (SORA), Mich. Comp. Laws § 28.721 et seq., as amended effective March 24, 2021;

          WHEREAS the Court entered stipulated orders on class certification in May

 2022 and May 2023 (ECF Nos. 35, 109) which certified:

       • a “primary class,” defined as people who are or will be subject to registration

          under Michigan’s Sex Offenders Registration Act (ECF No. 35,

          PageID.1116);

       • a “pre-2011 ex post facto subclass,” defined as members of the primary class

          who committed the offense(s) requiring registration before July 1, 2011 (ECF

          No. 35, PageID.1117);


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    • a “retroactive extension of registration subclass,” defined as members of the

       primary class who were retroactively required to register for life as a result of

       amendments to SORA (ECF No. 35, PageID.1117);

    • a “barred from petitioning subclass,” defined as members of the primary class

       who are ineligible to petition for removal from the registry and for whom ten

       or more years will have elapsed since the date of their conviction for the

       registrable offense(s) or from their release from any period of confinement for

       that offense(s), whichever occurred last, and who (a) have not been convicted

       of any felony or any registrable offense since; (b) have successfully completed

       their assigned periods of supervised release, probation, or parole without revo-

       cation at any time of that supervised release, probation, or parole; and (c) have

       successfully completed an appropriate sex offender treatment program, if

       successful completion of a sex offender treatment program was a condition of

       the registrant’s confinement, release, probation, or parole (ECF No. 35,

       PageID.1117-1118);

    • a “non-sex-offense subclass,” defined as members of the primary class who

       are or will be subject to registration for an offense without a sexual component

       including convictions for violating Mich. Comp. Laws § 750.349 (other than

       convictions for violating Mich. Comp. Laws § 750.349(1)(c) or Mich. Comp.



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       Laws § 750.349(1)(f)), § 750.349b, § 750.350, or a substantially similar

       offense in another jurisdiction (ECF No. 35, PageID.1118);

    • a “plea bargain subclass,” defined as members of the primary class who gave

       up their right to trial and pled guilty to a registrable offense in Michigan and

       who, as a result of retroactive amendments to SORA, (a) were retroactively

       subjected to SORA even though there was no registration requirement at the

       time of their plea; or (b) had their registration terms retroactively extended

       beyond that in effect at the time of their plea (ECF No. 35, PageID.1118);

    • a “post-2011 subclass,” defined as members of the primary class who commit-

       ted the offense(s) requiring registration on or after July 1, 2011 (ECF No. 35,

       PageID.1118); and

    • a “non-Michigan offense” subclass, defined as members of the primary class

       who are or will be subject to sex offender registration under Mich. Comp.

       Laws §§ 28.722 (r)(x); (t)(xiii); (v)(viii); or 28.723(1)(d), for a conviction or

       adjudication from a jurisdiction other than Michigan (ECF No. 109,

       PageID.3128);

       WHEREAS the parties filed cross-motions for summary judgment and

 responses (ECF No. 123, 129, 131, 132), statements of material facts (ECF Nos.

 123-1, 129-1), counterstatements of material facts (ECF Nos. 129-2, 131-1), and

 supplemental briefs (ECF Nos. 145, 146, 154, 155);

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         WHEREAS on September 27, 2024, the Court issued an Opinion and Order

 granting in part Plaintiffs’ Motion for Summary Judgment and granting in part

 Defendants’ Motion for Summary Judgment (ECF No. 158); and

         WHEREAS {ADD ANY FURTHER PROCEEDINGS};

         IT IS NOW ORDERED that the Court enters final judgment as follows:

 Count I:     Ex Post Facto – Pre-2011 Ex Post Facto Subclass

 [The parties are continuing to discuss the terms of the proposed judgment with

 regard to the Court’s ruling on the first count.]

 Count II:    Ex Post Facto and Due Process – Retroactive Extension of Registra-
              tion Subclass
    1.     IT IS HEREBY ORDERED that Plaintiffs are granted summary judgment

 on Count II, which challenged the retroactive extension of SORA’s registration

 terms under the Ex Post Facto Clause of the United States Constitution. With respect

 to Plaintiffs’ claim that retroactive extension of SORA’s registration terms violates

 the Due Process Clause of the United States Constitution, the Court finds it unneces-

 sary to decide this issue given the Court’s ruling under the Ex Post Facto Clause.

    2.    IT IS FURTHER ORDERED that a declaratory judgment is entered that the

 [Defendants: 2011] amendments to SORA that retroactively extended registration

 terms and remain in the current SORA, as amended effective March 24, 2021, violate

 the Ex Post Facto Clause of the United States Constitution.

    3.     IT IS FURTHER ORDERED that
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 [Plaintiffs:

 Defendants, their officers, agents, servants, employees, and attorneys, and other

 persons in active concert or participation with them, are permanently enjoined from

 requiring registration under SORA or enforcing SORA against Does A, B, C, D, E,

 G, Ms. Doe, Ms. Roe, and the retroactive extension of registration subclass, for a

 term longer than was in effect at the time of the registrant’s offense or for registrants

 whose offense predated the creation of SORA for longer than the term in effect on

 October 1, 1995, when SORA was initially adopted (“the original registration

 term”). The original registration terms are:

        a. For Doe A, Doe B, Doe E and members of the retroactive extension of

           registration subclass whose registrable offense was committed before Sep-

           tember 1, 1999: 25 years of registration after the date of initially registering

           as a sex offender. See Public Act 295, sec. 5(3) (1994).

        b. For Doe C, Doe D, Doe G, Mary Doe, Mary Roe and members of the

           retroactive extension of registration subclass whose registrable offense

           was committed on or after September 1, 1999, and before July 1, 2011: 25

           years of registration after the date of initially registering as a sex offender,

           or 10 years after release from a state correctional facility, whichever is

           longer. See Public Act 85, sec. 5(6) (1999).




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 [Defendants:

  Defendants and their agents are permanently enjoined from requiring registration or

 taking enforcement action against members of the “retroactive extension of

 registration subclass” beyond the duration that was required before the registration

 terms were extended by the amendments originally introduced in 2011. The

 registration terms of the “retroactive extension of registration subclass” are limited

 for these registrants to only the duration that was required before July 1, 2011, which

 is 25 years of registration after the date of initially registering as a sex offender, or

 10 years after release from a state correctional facility, whichever is longer. See

 Public Act 85, sec. 5(6) (1999).

 In determining the initial registration date, the Defendants may use the field

 “Registration Form Date” if available in the SOR database and reflective of the

 initial registration date. If that field is not populated for a registrant or is not

 reflective of the initial registration date, the conviction date may be used. Any period

 of sex offender registration in another jurisdiction is included in calculating how

 long a person has been registered.

    4.    IT IS FURTHER ORDERED that Defendants shall [Plaintiffs: immediately

 remove Doe A, Doe B, and Doe E from the registry, and shall] within __ days




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 remove all members of the retroactive extension of registration subclass who have

 completed their original registration term.

    5.     IT IS FURTHER ORDERED that Defendants shall remove [Plaintiffs: Doe

 C, Doe D, Doe G, Mary Doe and Mary Roe and] all members of the retroactive

 extension of registration subclass when they complete their original registration

 term.

    6.     IT IS FURTHER ORDERED that within __days, Defendants shall provide

 written notice to all members of the retroactive extension subclass that either informs

 them that:

         a. They are no longer subject to SORA and have been removed from the

            registry; or

         b. They are now subject to SORA for the length of time in their original

            registration term, and what the date is for when their original registration

            term will expire.

 Count III: Individualized Review – Due Process and Equal Protection –
            Primary Class

    7.      IT IS FURTHER ORDERED that Defendants are granted summary judg-

 ment on Count III where Plaintiffs and the primary class challenged the imposition

 of lengthy and lifetime registration requirements without any individual review

 under the Due Process and Equal Protection Clauses of the United States Consti-

 tution.
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 Count IV: Equal Protection – Barred From Petitioning Subclass

    8.    IT IS FURTHER ORDERED that Defendants are granted summary judg-

 ment on Count IV where [Plaintiffs: Does A, C, E, G, Ms. Doe, Ms. Roe, and] the

 barred-from-petitioning subclass challenged under the federal Equal Protection

 Clause SORA’s prohibition on their petitioning for removal from the registry on the

 same terms as registrants eligible to petition under Mich. Comp. Laws §§ 28.728c

 (1), (12).

 Count V: First Amendment – Reporting Requirements – Primary Class and
        Non-Sex-Offense Subclass

    9.    IT IS FURTHER ORDERED that Defendants are granted summary judg-

 ment on Count V where [Plaintiffs: Plaintiffs,] the primary class, and the non-sex

 offense subclass challenged the reporting requirements of Mich. Comp. Laws §§

 28.724a(1)–(4); 28.725(1)–(3), (7)–(8), (10)–(13); §§ 28.725a(3)–(5), (7)–(8); and §

 28.727(1) as compelled speech under the First Amendment of the U.S. Constitution,

 absent individualized review.

 Count VI: Due Process – Plea Bargain Subclass

    10.       IT IS FURTHER ORDERED that summary judgment on Count VI, where

 [Plaintiffs: Does A, B, C, D, E, Ms. Roe, and] the plea bargain subclass challenged

 the imposition of SORA for life or for a longer term than that in effect at the time of

 their plea, is denied as moot because the Court has declared that retroactive extension



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  of registration terms violates the Ex Post Facto Clause of the United States Consti-

  tution and has permanently enjoined such retroactive extensions.

  Count VII: Due Process and Equal Protection – Non-Sex-Offense Subclass
     11.    IT IS FURTHER ORDERED that Plaintiffs are granted summary judg-

  ment on Count VII as to their claim that it violates the Due Process Clause of the

  Fourteenth Amendment to the United States Constitution to require [Plaintiffs: Doe

  A and] the non-sex offense subclass to register under SORA

  [Plaintiffs:

  or to enforce SORA against them for a conviction under Mich. Comp. Laws §

  750.349, 1 § 750.349b, or § 750.350, or a substantially similar non-sexual conviction

  in another jurisdiction (hereafter “non-sex conviction”) where (a) their registrable

  offense did not contain a sexual element; and (b) there has been no judicial deter-

  mination that their offense by its nature constitutes a sexual offense. As to these

  Plaintiffs’ claim that it also violates the federal Equal Protection Clause to register

  them under SORA absent the judicial determination provided to other registrants

  convicted of non-sex offenses pursuant to the “catch-all” provision of Mich. Comp.

  Laws § 769.1(12), 2 the Court finds that it is not necessary to reach that issue as the


     1
       Mich. Comp. Laws § 750.349(1)(c) and Mich. Comp. Laws § 750.349(1)(f))
  are excepted because those offenses have a sexual element.
     2
      Mich. Comp. Laws § 769.1(12), which applies to the registration of people
  under SORA’s “catch-all” provision, Mich. Comp. Laws § 28.722(r)(viii), provides
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  relief ordered here for the due process violation is coextensive with the relief that

  Plaintiffs sought for the equal protection violation.]

  [Defendants:

  where there has been no determination from a neutral decision maker that a

  conviction under Mich. Comp. Laws § 750.349,3 § 750.349b, or § 750.350, or a

  substantially similar non-sexual conviction in another jurisdiction (hereafter “non-

  sex conviction”) included a sexual component. The Court finds that it is not

  necessary to reach the issue of whether there was an Equal Protection violation

  because the relief ordered here for the Due Process violation is coextensive with the

  relief that Plaintiffs sought for the Equal Protection violation.]

     12. IT IS FURTHER ORDERED that a declaratory judgment is entered that it

  violates the Due Process Clause of the Fourteenth Amendment to the United States

  Constitution to require [Plaintiffs: Doe A and] the non-sex offense subclass to

  register under SORA

  [Plaintiffs:




  that the sentencing court determine whether the offense “by its nature constitutes a
  sexual offense” against a minor and, if so, include the basis for that determination
  on the record and include the determination in the judgment of sentence. Mich.
  Comp. Laws § 769.1(12).
     3
       Mich. Comp. Laws § 750.349(1)(c) and Mich. Comp. Laws § 750.349(1)(f))
  are excepted because those offenses have a sexual element.

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  or to enforce SORA against them for a “non-sex conviction” unless there is a judicial

  determination that the “non-sex conviction” was an offense that by its nature

  constitutes a sexual offense]

  [Defendants:

  or take enforcement action against them unless there is a determination from a

  neutral decision maker that the offense included a sexual component.]

     13.      IT IS FURTHER ORDERED that Defendants,

  [Plaintiffs:

  their officers, agents, servants, employees, and attorneys, and other persons in active

  concert or participation with them, are permanently enjoined from requiring

  registration under SORA or enforcing SORA against Doe A and the non-sex offense

  subclass based on a non-sex offense conviction absent a judicial determination that

  the “non-sex conviction” was for an offense that by its nature constitutes a sexual

  offense.]

  [Defendants:

  and their agents are permanently enjoined from requiring registration under SORA

  or taking enforcement action against the non-sex offense subclass based on a non-

  sex offense conviction unless there is a determination from a neutral decision maker

  that the offense included a sexual component.]




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  [Defendants do not believe that paragraphs 14 and 15 are necessary.]

     14.     [Plaintiffs:

  IT IS FURTHER ORDERED that for members of the non-sex offense subclass who

  have both a “non-sex conviction” and another registrable conviction, Defendants,

  their officers, agents, servants, employees, and attorneys, and other persons in active

  concert or participation with them, are permanently enjoined from requiring regis-

  tration under SORA or enforcing SORA against them for a term longer than, or with

  requirements harsher than, those imposed for the other registrable conviction absent

  a judicial determination that the “non-sex conviction” was for an offense that by its

  nature constitutes a sexual offense.]

     15.     IT IS HEREBY ORDERED that this injunction does not bar Defendants

  from requiring registration under SORA or enforcing SORA against members of the

  non-sex offense subclass if the following procedures are followed:

           a. Current subclass members: There is a judicial determination under the

             standards and procedures of Mich. Comp. Laws § 769.1(12) (SORA’s

             “catch-all” provision) that the non-sex offense “by its nature constitutes a

             sexual offense.” Defendants may ask prosecuting authorities to conduct

             such hearings.

           b. Future Non-Sex Offense Convictions.




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              i. For subclass members with a Michigan “non-sex conviction,” there

                 is, as part of the criminal case, a judicial determination under the

                 standards and procedures of Mich. Comp. Laws § 769.1(12) that the

                 non-sex offense “by its nature constitutes a sexual offense”.

             ii. For subclass members with a “non-sex conviction” from another juris-

                 diction, there is a judicial proceeding under the standards and proce-

                 dures of M.C.L. § 769.1(12) that is separately held where the court

                 determines that the non-sex offense “by its nature constitutes a sexual

                 offense”.

     16. IT IS FURTHER ORDERED that if Defendants decide to hold judicial

  hearings other than under standards and procedures of Mich. Comp. Laws §

  769.1(12) to determine whether the non-sex offense “by its nature constitutes a

  sexual offense,” they shall give Plaintiffs __ days’ notice of the procedures and

  standards to be used. Plaintiffs may seek further relief from this Court if they believe

  those procedures and standards do not satisfy due process or equal protection

  requirements, or do not comply with this judgment. The parties may also stipulate

  to procedures and standards for hearings, and then present to the Court a stipulation

  that incorporates those procedures and standards.]

  Count VIII: Due Process/Vagueness – Primary Class and Post-2011 Subclass

     17. {FURTHER PROCEEDINGS ARE NEEDED ON COUNT VIII}.

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     18.    IT IS FURTHER ORDERED that a declaratory judgment is entered that a

  willful violation of SORA does not include a failure to report information not

  required to be reported under this judgment unless or until the judgment on Count

  VIII is reversed.

     19.    IT IS FURTHER ORDERED that Plaintiffs’ claim that SORA’s require-

  ment to report electronic mail addresses and internet identifiers are unconstitu-

  tionally vague is denied as moot because the Court has granted Plaintiffs summary

  judgment on Count X, has declared that Mich. Comp. Law §§ 28.722(g), 28.725

  (2)(a), 28.727(1)(i), and 28.728(1)(i) violate the First Amendment to the United

  States Constitution, and has permanently enjoined enforcement of those sections of

  SORA.

 Count IX: First Amendment/Admission of Understanding – Primary Subclass

     20.   IT IS FURTHER ORDERED that Plaintiffs are granted summary judg-

  ment on Count IX which challenged the requirement that registrants attest that they

  understand their registration duties under SORA.

     21.   IT IS FURTHER ORDERED that a declaratory judgment is entered that

  requiring the [Plaintiffs: Plaintiffs and] primary class members to attest to under-

  standing their registration duties under SORA violates the protection against

  compelled speech of the First Amendment to the U.S. Constitution.

     22.   IT IS FURTHER ORDERED that Defendants [Plaintiffs: , their officers,


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  agents, servants, employees, and attorneys, and other persons in active concert or

  participation with them,] are permanently enjoined from requiring [Plaintiffs:

  Plaintiffs and] the primary class to attest that they understand their obligations under

  SORA.

  Count X:     First Amendment/Internet Reporting Requirements – Post-2011
               Subclass

     23.   IT IS FURTHER ORDERED that Plaintiffs are granted summary

  judgment on Count X which challenged the requirement to report electronic mail

  addresses and to report internet identifiers.

     24. IT IS FURTHER ORDERED that a declaratory judgment is entered that

  requiring [Plaintiffs: Doe H and] the post-2011 subclass to report electronic mail

  addresses and/or internet identifiers under Mich. Comp. Laws §§ 28.722(g),

  28.725(2)(a), 28.727(1)(i), and 28.728(1)(i), violates the First Amendment of the

  United State Constitution.

     25. IT IS FURTHER ORDERED that Defendants [Plaintiffs: , their officers,

  agents, servants, employees, and attorneys, and other persons in active concert or

  participation with them,] are permanently enjoined from requiring [Plaintiffs: Doe

  H and] the post-2011 subclass to report electronic mail addresses or internet

  identifiers under Mich. Comp. Laws §§ 28.722(g), 28.725(2)(a), 28.727(1)(i), and

  28.728(1)(i), and shall by ___ {DATE} remove from the registry database all



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  electronic mail addresses and internet identifiers previously reported and stored in

  the database field for electronic mail addresses and internet identifiers.

  Count XI:      Due Process, Equal Protection, Privileges & Immunities – Non-
                 Michigan Offense Subclass
     26. IT IS FURTHER ORDERED that Plaintiffs are granted summary judgment

  on Count XI with respect to their claim that (a) Defendants’ procedures for deter-

  mining registration requirements for [Plaintiffs: Doe G, Ms. Doe, and] the non-

  Michigan offense subclass, and (b) the imposition of longer or harsher requirements

  on them than are imposed on people with Michigan convictions, violate the Due

  Process and Equal Protection Clauses of the Fourteenth Amendment to the U.S.

  Constitution. With respect to Plaintiffs’ claim that imposing longer or harsher

  requirements on people with non-Michigan convictions violates the Privileges and

  Immunities Clause, Article IV, § 2 of the U.S. Constitution, the Court finds that it is

  unnecessary to reach that claim in light of the relief ordered.

     27. IT IS FURTHER ORDERED that

  [Plaintiffs:

  a declaratory judgment is entered that requiring Ms. Doe, Doe G, and the non-

  Michigan offense subclass to register under SORA and enforcing SORA against

  them violates the Due Process Clause of the Fourteenth Amendment absent a judicial

  hearing that complies with due process requirements to determine whether the

  person’s non-Michigan conviction is “substantially similar” to a registrable
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  Michigan conviction, whether the person is required to register, and if so, what

  SORA registration requirements apply.]

  [Defendants:

  a declaratory judgment is entered that requiring the non-Michigan offense subclass

  to register under SORA violates the Due Process Clause of the Fourteenth

  Amendment absent notice and an opportunity to be heard by a neutral decision maker

  regarding whether the person is required to register, and if so, what SORA

  registration requirements apply.]

     28. IT IS FURTHER ORDERED that Defendants

  [Plaintiffs:

  , their officers, agents, servants, employees, and attorneys, and other persons in

  active concert or participation with them, are permanently enjoined from requiring

  Ms. Doe, Doe G, and the non-Michigan offense subclass to register under SORA

  and from enforcing SORA against them absent a judicial hearing that complies with

  due process requirements to determine whether the person’s non-Michigan convic-

  tion is “substantially similar” to a registrable Michigan conviction, whether the

  person is required to register, and if so, what SORA registration requirements apply.]

  [Defendants:

  effective [insert date] are permanently enjoined from requiring the non-Michigan

  offense subclass to register under SORA until notice is provided to the subclass and

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  there is an opportunity to be heard by a neutral decision maker regarding whether

  the person is required to register, and if so, what SORA registration requirements

  apply.]

     29. IT IS FURTHER ORDERED that a declaratory judgment is entered that

  imposing [Plaintiffs: or enforcing] registration requirements under SORA on [Ms.

  Doe, Doe G, and] the non-Michigan offense subclass that are longer or harsher than

  those imposed on people with “substantially similar” Michigan convictions violates

  the Equal Protection Clause of the Fourteenth Amendment.

     30. IT IS FURTHER ORDERED that Defendants [Plaintiffs: , their officers,

  agents, servants, employees, and attorneys, and other persons in active concert or

  participation with them,] are permanently enjoined from imposing or enforcing

  registration requirements under SORA [Plaintiffs: on Ms. Doe, Doe G, and] the non-

  Michigan offense subclass that are longer or harsher than for people with

  “substantially similar” Michigan convictions.

     31. IT IS FURTHER ORDERED that for members of the non-Michigan offense

  subclass who are also members of the retroactive extension of registration subclass,

  [Plaintiffs:

  the original registration term for purposes of relief on Count II shall be based on the

  term in effect for the “substantially similar” Michigan offense under Michigan’s

  SORA at the time of the registrant’s offense, or for registrants whose offense

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  predated the creation of SORA, the term in effect for the “substantially similar”

  Michigan offense on October 1, 1995.]

  [Defendants:

  the duration of registration that may be applied in Count II shall be based on the term

  currently in effect for the “substantially similar” Michigan offense.]



  [Defendants do not believe that paragraphs 32 or 33 are necessary.]

     32. [Plaintiffs: IT IS FURTHER ORDERED that if Defendants decide to hold

  hearings to determine the registration requirements of the non-Michigan offense

  subclass, they shall give Plaintiffs __ days’ notice of the procedures and standards

  to be used. Plaintiffs may seek further relief from this Court if they believe those

  procedures and standards do not comply with this judgment. The parties may also

  stipulate to procedures and standards for hearings, and then present to the Court a

  stipulation that incorporates those procedures and standards.]

  [Plaintiffs: Preservation of Claims Not Decided

     33. As set out above, the Court has found it unnecessary to reach some claims

  and some legal theories and has found some claims moot because the Court has

  granted relief on other claims or under other legal theories. All claims and alternative

  legal theories not decided by the Court are preserved. In the event that, as the result

  of any subsequent appellate proceedings, any of the Court’s orders are modified or

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  vacated, the parties can raise the preserved issues on remand consistent with any

  instructions from the appellate courts.]

  Effective Date of Relief Granted

     34. IT IS FURTHER ORDERED that all declaratory relief granted in this

  judgment shall have immediate effect.

     35. IT IS FURTHER ORDERED that in order to give Defendants time to

  implement the Court’s decisions, the injunctive relief granted shall become effective

  as follows:

        a. Count I (ex post facto): __ days.

        b. Count II (ex post facto/retroactive extension of registration terms): as set

           out in paragraphs {}, supra.

        c. Count VII (non-sex offense): __ days.

        d. Count VIII (vagueness): immediate.

        e. Count IX (First Amendment/admission of understanding): immediate.

        f. Count X (First Amendment/internet reporting requirements): immediate,

           except that removal of previously reported information, the deadline for

           which is set out in paragraph {}, supra.

        g. Count XI (non-Michigan offenses): __ days

  Notice to Class, Prosecutors and Law Enforcement

     36. IT IS FURTHER ORDERED that Defendants shall provide notice of this

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  judgment to all registrants and to all law enforcement officials and prosecuting

  attorneys tasked with the enforcement of SORA within the period of time stated in

  a Court-approved notice process. Within 28 days of entry of this judgment the parties

  shall submit for the Court’s approval a joint proposed process for notice and

  proposed notices for registrants, prosecutors, and law enforcement. If the parties

  cannot agree, they shall provide to the Court their respective proposed notice process

  and proposed notices.

     37.   IT IS FURTHER ORDERED that within 28 days of entry of this judgment,

  Defendants shall update the Explanation of Duties, MSP Form RI-004 and RI-004A,

  to conform to this judgment. {DEPENDING ON HOW THE COURT RESOLVES

  THE VAGUENESS CHALLENGES, LANGUAGE MAY NEED TO BE ADDED

  HERE.}

  Class List and Post-Judgment Monitoring

     38. IT IS FURTHER ORDERED that Defendants shall within __ days provide

  class counsel with an updated class list in a manipulable electronic format.

  Defendants shall produce updated data for the public and non-public data fields that

  the Court previously ordered produced in discovery. See Order Following Discovery

  Hearing, ECF No. 81 (requiring production of data listed on Exhibit A to Plaintiffs’

  First Interrogatories and Requests for Production, ECF No. 78-1, Ex. A).

  [Plaintiffs: Defendants shall provide this same information for any new registrants

                                           21
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  every four months on dates agreed to by the parties. At the conclusion of all proceed-

  ings in this case, including appeals, the Court will determine whether and for how

  long such reporting shall continue.]

     39. IT IS FURTHER ORDERED THAT provision of the above information

  shall not be deemed a violation of any law or regulation that might otherwise be read

  to protect the confidentiality of such information, including Mich. Comp. Laws §§

  28.214, 28.728, and 28.730.

     40. [Plaintiffs: IT IS FURTHER ORDERED that Defendants shall provide

  Plaintiffs with information necessary to monitor implementation of the judgment.

  Within 28 days of entry of this judgment the parties shall submit for the Court’s

  approval a joint proposed process for post-judgment monitoring, including what

  information Defendants shall report to Plaintiffs and on what schedule, or if they

  disagree, their respective proposed processes.]

  Records Maintenance

     41. Defendants may maintain a cancelled record of registrants who have been

  removed from Michigan’s sex offender registry pursuant to this judgment.

  Dismissal of John Doe F

     42.   IT IS FURTHER ORDERED that John Doe F is dismissed from this action

  as he is no longer subject to SORA.




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  Attorneys Fees and Costs

     43.      IT IS FURTHER ORDERED that Plaintiffs shall have until 60 days after

  the conclusion of all appeals in this case to file their motion for an award of attor-

  ney’s fees and costs, including taxable costs. For purposes of this order, “the conclu-

  sion of all appeals” means the latest of:

      (a) the expiration of any party’s time to file a notice of appeal to the United

             States Court of Appeals for the Sixth Circuit of any final order of this

             Court,4 including any final order of this Court after remand, in the event the

             case is remanded by a higher court;

         (b) the expiration of time to file a petition for certiorari to the United States

             Supreme Court following a final decision by the Sixth Circuit on appeal

             from any final order of this Court;

         (c) the denial of a petition of certiorari by the United States Supreme Court; or

         (d) the disposition of this case by the United States Supreme Court, if the

             Supreme Court grants a petition for certiorari.




     4
       The parties agree that under Fed. R. App. P. 4(a)(1)(A), any appeal must be
  taken within 30 days of the date of this judgment. Accordingly, if no appeal is taken
  by either party, Plaintiffs’ fee petition will be due within 90 days of entry of this
  judgment.

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  Rather than file a separate bill of costs, the parties shall include the taxable items

  with the other costs for which they seek an award on the schedule established in this

  Order.

  Retention of Jurisdiction

     44. IT IS FURTHER ORDERED that the Court retains jurisdiction to ensure

  compliance with its orders and to resolve any post-judgment issues, including notice,

  monitoring and attorneys’ fees.

                                         SO ORDERED.



                                         ____________________
                                         Hon. Mark A. Goldsmith
                                         United States District Judge

  Dated:
               Detroit, Michigan




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